833 F.2d 1023
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Michael S. ROSS, Plaintiff-Appellant,v.The UNITED STATES, Defendant-Appellee.
    No. 87-1428.
    United States Court of Appeals, Federal Circuit.
    Oct. 20, 1987.
    
      Before RICH, DAVIS, and ARCHER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The United States Claims Court, in an order dated June 2, 1987, and on its own motion, dismissed the appellant's complaint for lack of jurisdiction.  We affirm.    The Claims Court plainly lacked subject matter jurisdiction over any of the appellant's claims and properly dismissed on that basis.
    
    